Case 19-32841-hdh11 Doc 248 Filed 12/23/20   Entered 12/23/20 17:23:53   Page 1 of 2
Case 19-32841-hdh11 Doc 248 Filed 12/23/20                              Entered 12/23/20 17:23:53                       Page 2 of 2




        POST CONFIRMATION
        QUARTERLY OPERATING REPORT




        CASE NAME:
               Dougherty's Pharmacy, Inc. [Texas]


        CASE NUMBER:
               19-32842-hdh11



        QUARTER ENDING: 10/31/2020 *


           1 BEGINNING OF QUARTER CASH BALANCE:                                                                 $50,072.18

               CASH RECEIPTS:
               CASH RECEIPTS DURING CURRENT QUARTER:
               (a). Cash receipts from business operations                                       +                      $0.00
               (b). Cash receipts from loan proceeds                                             +                      $0.00
               (c). Cash receipts from contributed capital                                       +                      $0.00
               (d). Cash receipts from tax refunds                                               +                      $0.00
               (e). Cash receipts from other sources                                             +                      $0.00
           2 TOTAL CASH RECEIPTS                                                                 =                      $0.00
               CASH DISBURSEMENTS:
               (A). PAYMENTS MADE UNDER THE PLAN:
               (I). Administrative                                                               +                      $0.00
               (2). Secured Creditors                                                            +                      $0.00
               (3). Priority Creditors                                                           +                      $0.00
               (4). Unsecured Creditors                                                          +                      $0.00
               (5). Additional Plan Payments                                                     +                      $0.00
               (B). OTHER PAYMENTS MADE THIS QUARTER:
               (1). General Business                                                             +                    $0.00
               (2). Other Disbursements                                                          +                    $0.00
           3 TOTAL DISBURSEMENTS THIS QUARTER                                                                         $0.00
           4 CASH BALANCE END OF QUARTER (as of 10/31/2020)                                      =                $4,921.12

           *   Per the Plan of Reorganization and by agreement of the United States Trustee, this entity has been administered
               in full as of April 21,2020 and shall owe the UST only the minimum post‐confirmation quarterly fee. The Litigation
               Trust shall be responsible for filing QORs or supplements to the Debtor's reports and for paying applicable post‐
               confirmation quarterly fees owed to the UST in any quarter in which it makese disbursements.
